Case 1:03-cr-00304-CBA   Document 773   Filed 02/07/06   Page 1 of 8 PageID #: 3285




                                            /s/ Hon. Carol B. Amon
Case 1:03-cr-00304-CBA   Document 773   Filed 02/07/06   Page 2 of 8 PageID #: 3286
Case 1:03-cr-00304-CBA   Document 773   Filed 02/07/06   Page 3 of 8 PageID #: 3287
Case 1:03-cr-00304-CBA   Document 773   Filed 02/07/06   Page 4 of 8 PageID #: 3288
Case 1:03-cr-00304-CBA   Document 773   Filed 02/07/06   Page 5 of 8 PageID #: 3289
Case 1:03-cr-00304-CBA   Document 773   Filed 02/07/06   Page 6 of 8 PageID #: 3290




                                               /s/ Hon. Carol B. Amon
Case 1:03-cr-00304-CBA   Document 773   Filed 02/07/06   Page 7 of 8 PageID #: 3291
Case 1:03-cr-00304-CBA   Document 773   Filed 02/07/06   Page 8 of 8 PageID #: 3292




                                                /s/ Hon. Carol B. Amon
